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EIN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Stacey L. Schmader, Leticia O’Dell, Chad
Nicholson, Kai Huschke, Markie Miller,
Michelle Sanborn, Malinda Clatterbuck,

Crystal Jankowski, Civil Action

Plaintiffs, No. 1:20-cv-00067-JPW-MCC

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Vv. )
)
Thomas Alan Linzey, in his Individual and)
Official Capacities; Tammy Belinsky, in her )
Individual and Official Capacities; Fred }
Walls, in his Individual and Official )
Capacities; Edward Wells, in his Individual )

 

and Official Capacities; Community )
Environmental Legal Defense )
Fund and the Center for Democratic and )
Environmental Rights; }
)
Defendants. )
)
ORDER
AND NOW, this day of , 2020, upon consideration of

Plaintiffs’ Motion to Remove Defendants from CELDF Positions and for Nullification of Brannen
Employment Contract, it is hereby ORDERED and DECREED that Plaintiff's Motion is
GRANTED.

BY THE COURT:

 

 
